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 1   LOUIS M. BUBALA III, ESQ.                              ELECTRONICALLY FILED ON
     Nevada State Bar No. 8974                              July 3, 2013
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     Attorneys for Banco Popular North America
 6   (“BPNA”)
 7                               UNITED STATES BANKRUPTCY COURT
 8                                          DISTRICT OF NEVADA
 9    In re                                                  Case No.: BK-12-50554-BTB
10    CARLTON EDWARD HULL aka CARL                           Chapter:   11
      HULL,
11                                                           RENEWED OBJECTION TO
                      Debtor.                                DEBTOR’S PROPOSED PLAN OF
12                                                           REORGANIZATION, WITH
                                                             CERTIFICATE OF SERVICE
13
                                                             Hearing Date: 7/17/13
14                                                           Hearing Time: 2:00 p.m.
15            On April 15, 2012, Debtor filed a proposed plan and disclosure statement (Ct. Dkt. #14-15).
16   The Court approved the disclosure statement on August 29, 2012, with a confirmation hearing
17   scheduled for December 21, 2012 (Ct. Dkt. #65). After Debtor moved to value collateral (Ct. Dkt.
18   #73), he rescheduled the confirmation hearing to January 25, 2013 (Ct. Dkt. #75).
19            BPNA objected to the plan (Ct. Dkt. #104), as did other creditors (Ct. Dkt. #95, 101-03, 108).
20   Debtor did not reply to the objections or file a ballot summary. On January 23-24, 2013, the two
21   days prior to the confirmation hearing, Debtor filed stipulations with creditors to continue the
22   confirmation hearing (Ct. Dkt. #110, 112) until July 17, 2013 (Ct. Dkt. #113).
23            Debtor has neither addressed nor resolved BPNA’s objection, so BPNA renews it to make
24   clear that its objection remains outstanding. BPNA’s objection involves the issues originally
25   identified (Ct. Dkt. #104), and supplemented here. In short, Debtor has not properly or timely
26   disclosed the financial results of the businesses in which he holds a substantial and controlling
27   interest, a requirement disclosure imposed by Rule 2015.3(a). Therefore, Debtor has not complied
28   with his obligations and cannot confirm his plan under Section 1129(a)(2). Alternatively, Debtor’s


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 1   cannot confirm his plan because his conduct in omitting his financials either has not been in good
 2   faith under Section 1125(e) or resulted in a plan not filed in good faith under Section 1129(a)(3).
 3          In BPNA’s original objection, it noted that Rule 2015.3 provides that certain financial reports
 4   “shall be filed” on an ongoing basis for entities in which the debtor holds a substantial or controlling
 5   interest. On April 4, 2012, BPNA reminded Debtor of his obligation to file the reports for his
 6   businesses before or on April 9, 2012, a week prior to the creditors meeting as required by Rule
 7   2015.3. Debtor did not file any reports until April 16, 2012, when he filed an unexecuted report just
 8   four hours before the creditors meeting. The reports did not comply with reporting requirements.
 9          Rule 2015.3(b) also requires new reports to be filed “no less frequently than every six
10   months.” In this case, additional reports should have been filed by at least October 9, 2012, then
11   again by at least April 9, 2013. Debtor did not file a new report on or before October 9, 2012.
12   BPNA provided courtesy reminders to Debtor on December 2 and 21, 2012, of the deficiency.
13   Debtor reported on January 1, 2013, that he would file reports on or before January 11, 2013, the
14   deadline for BPNA to respond to the plan. Debtor did not file any updated business financials by that
15   date, and BPNA filed its original objection.
16          Debtor files additional business financials on January 14, 2013, although once again
17   unexecuted contrary to the reporting requirements (Ct. Dkt. #105). The untimely reports remain
18   deficient in disclosure of information called for under Rule 2015.3. Debtor also failed to file
19   additional business financials on or before April 9, 2013.
20          Since BPNA filed its initial objection, Chief Judge Myers issued an opinion on the
21   importance of timely and accurate financial reports required under Rule 2015.3. In re Hoyle, Case
22   No. 10-01484-TLM, 2013 WL 210254, *10 (Bankr. D. Idaho Jan. 17, 2013). He noted that Debtor
23   failed to timely and correct filed business financials, then tried to correct them with late filings. This
24   was unsatisfactory to Judge Myers no matter the reason:
25                  Whether Debtor deliberately concealed financial activities, or
                    inadvertently misreported them due to a poor understanding of
26                  accounting principles or bankruptcy requirements, the result remains
                    the same. Creditors, the UST and the Court could not accurately and
27                  timely gauge Debtor’s financial situation, the profitability of Debtor’s
                    business, Debtor's ability to live within the budget he set, his
28                  compliance with the Code and Rules, or the feasibility of his chapter 11
                    plan. Even if Debtor did not deliberately file misleading reports,
                    Debtor had a responsibility to file complete and accurate reports.
                                                         2
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     Id. He also recognized prior decisions “that serious consequences attend when meaningful disclosure
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     was accorded too low a priority by a debtor.” Id. at n.56 (quotation and citation omitted). The
 3
     decision cites to In re Whetten, 473 B.R. 380 (Bankr. D. Colo. 2012), cited in BPNA’s original
 4
     objection as the only case law on the business reporting requirements. Judge Myers’ opinion appears
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     to be the only opinion on the reporting requirements published in any form within the Circuit.
 6
              Debtor’s business reports remain deficient. The official form requires three exhibits to be
 7
     filed for each entity. At an initial point, Debtor’s reports identify four entities wholly owned by him,
 8
     but he does not file any information about two of them, Serenity Place and Adventure Time. As to
 9
     the other two entities relevant to the debt owed to BPNA, Debtor does not provide the requirement
10
     information for Advance Check Cashing and Geometric Services.
11
              First, Debtor is required to file Exhibit A, a valuation estimate of the entity not more than two
12
     years prior to the date of the report and include the valuation method. Debtor has not filed a
13
     valuation for either Advance Check Cashing and Geometric Services, let alone timely valuations or
14
     any methodology.
15
              Second, Debtor is required to file Exhibit B, reflecting the following financials “for the period
16
     covered by the Entity Report,” along with summarized footnotes. At this point Debtor should have
17
     filed business financials through March 2013. But the most recent information on file stops in
18
     December 2012. Additional, Debtor none of Debtor’s business financials contain footnotes. And
19
     while Debtor has filed balance sheets and a statement of income (loss), it has not filed a statement of
20
     cash flows or a statement of equity. The failure to disclose a statement of cash flows inhibits the
21
     financial evaluation of a business. See, e.g., United States v. Electrodyne Sys. Corp., 147 F.3d 250,
22
     254 (3d Cir. 1998) (noting deficiency in corporate defendant’s financial disclosure reflected in
23
     presentence report). To be sure, the statement of cash flows is considered one of the best accounting
24
     standards due to its consistency, comparability and disclosure of additional information, among other
25
     points. Cheri L. Reither, What are the Best and Worst Accounting Standards? 12 Accounting
26
     Horizons 3 at 283 (Am. Accounting Assn. Sept. 1998), citing FASB Standard 95, Statement of Cash
27
     Flows.
28
              Third, Debtor is required to file Exhibit C, a description of each entity’s business operations.

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 1   Debtor has not filed nay such description. As noted in the original objection, Debtor has not properly
 2   disclosed the nature of his business operations or their financial performance.
 3          Debtor cannot confirm a plan that does not comply with his obligations to report the financial
 4   information for his business. The reporting is a statutory direction from Congress in BAPCA and
 5   adopted in Rule 2015.3. By failing to abide by the reporting requirements, Debtor’s plan cannot be
 6   confirmed because he has not complied with the applicable provisions of Title 11 and he has not
 7   proposed his plan in good faith. 11 U.S.C. §§ 1125(e), 1129(a)(2), (3).
 8           DATED: July 3, 2013                       ARMSTRONG TEASDALE LLP
 9
                                                            By:     /s/ Louis M. Bubala III            .
10                                                                 LOUIS M. BUBALA III, ESQ.
11                                                     Attorneys for Banco Popular North America
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 1                                  CERTIFICATE OF SERVICE
 2         1.     On July 3, 2013, I served the following document(s):

 3    RENEWED OBJECTION TO DEBTOR’S PROPOSED PLAN OF REORGANIZATION,
      WITH CERTIFICATE OF SERVICE
 4
           2.     I served the above-named document(s) by the following means to the persons as listed
 5                below:
 6                       a.     ECF System (attach the "Notice of Electronic Filing" or list all persons
 7                              and addresses):

 8   KAREN M. AYARBE on behalf of Creditor WELLS FARGO BANK, N.A.
     karenayarbe@kernltd.com,
 9   christinelamia@kernltd.com;nicolemilton@kernltd.com;gakltd@kernltd.com

10   CHELSEA A. CROWTON on behalf of Creditor FEDERAL NATIONAL MORTGAGE
     ASSOCIATION
11   ccrowton@wrightlegal.net, ebaker@wrightlegal.net;pkutneski@wrightlegal.net
12
     KEVIN A. DARBY on behalf of Debtor CARLTON EDWARD HULL
13   kevin@darbylawpractice.com,
     tricia@darbylawpractice.com;alecia@darbylawpractice.com;sarah@darbylawpractice.com;itati@dar
14   bylawpractice.com;sawyer@darbylawpractice.com

15   KEVIN HAHN on behalf of Creditor JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
     kevin@mclaw.org, JTran@mclaw.org
16
     GAYLE A. KERN on behalf of Creditor WELLS FARGO BANK, N.A.
17
     gakltd@kernltd.com, christinelamia@kernltd.com;nicolemilton@kernltd.com
18
     JOHN F MURTHA on behalf of Creditor SIERRA PACIFIC FEDERAL CREDIT UNION
19   jmurtha@woodburnandwedge.com

20   DONNA M. OSBORN on behalf of Creditor FEDERAL NATIONAL MORTGAGE
     ASSOCIATION
21   donnamosborn@live.com
22
     DEAN R. PROBER on behalf of Creditor BANK OF AMERICA, N.A
23   cmartin@pralc.com

24   NATHAN F. SMITH on behalf of Creditor HOMEWARD RESIDENTIAL, INC.
     nathan@mclaw.org, MTeiman@mclaw.org
25
     NATHAN F. SMITH on behalf of Creditor JPMORGAN CHASE BANK, NATIONAL
26   ASSOCIATION
     nathan@mclaw.org, MTeiman@mclaw.org
27
28   KEVIN S. SODERSTROM on behalf of Creditor JPMORGAN CHASE BANK, NATIONAL
     ASSOCIATION
     nvbk@tblaw.com, jrgiordano@tblaw.com;batobias@tblaw.com
                                                    5
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 1
     U.S. TRUSTEE - RN - 11
 2   USTPRegion17.RE.ECF@usdoj.gov
 3   GREGORY L. WILDE on behalf of Creditor BANK OF AMERICA, N.A.
 4   nvbk@tblaw.com,
     jrgiordano@tblaw.com;mlbenson@tblaw.com;jlferran@tblaw.com;grgarrett@tblaw.com;maerwin@t
 5   blaw.com;batobias@tblaw.com

 6   GREGORY L. WILDE on behalf of Creditor JPMORGAN CHASE BANK, NATIONAL
     ASSOCIATION
 7   nvbk@tblaw.com,
     jrgiordano@tblaw.com;mlbenson@tblaw.com;jlferran@tblaw.com;grgarrett@tblaw.com;maerwin@t
 8   blaw.com;batobias@tblaw.com
 9
                      XX b.       United States mail, postage fully prepaid (list persons and
10                                addresses): For mailing on July 5, 2013

11   OCWEN LOAN SERVICING, LLC
     ATTN: BANKRUPCTY DEPARTMENT
12   1100 VIRGINIA DR, STE 175
     FORT WASHINGTON, PA 19034
13
     RECOVERY MANAGEMENT SYSTEMS CORPORATION
14
     25 S.E. SECOND AVENUE
15   INGRAHAM BUILDING, SUITE 1120
     MIAMI, FL 33131-1605
16
                      □ c.        Personal Service (list persons and addresses)
17                                I personally delivered the document(s) to the persons at these
                                  addresses:
18
                      □ d.        By direct email (as opposed to through the ECF System) (list
19                                persons and email addresses):
20
                      □ e.        By fax transmission (list persons and fax numbers):
21
                      □ f.        By messenger:
22
           I declare under penalty of perjury that the foregoing is true and correct.
23
           DATED this 3rd day of July, 2013.
24

25    L. Bubala                                  /s/ L. Bubala                   .
     Name                                                Signature
26

27
28


                                                       6
